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 4    Telephone: (215) 717-3473
      Attorney for Plaintiffs
 5                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF CALIFORNIA
 6                                     FRESNO DISTRICT
 7
 8

 9     LOREN PALSGAARD, ET AL.,
10
                      Plaintiffs,                          Civil Action No.:
11           v.                                        1:23-cv-01228-ADA-CDB

12     SONYA CHRISTIAN, ET AL.,                  [PROPOSED] ORDER GRANTING
                                              STIPULATION RE: CONSOLIDATION OF
13                    Defendants.                 OPPOSITION TO DEFENDANTS’
                                                     MOTIONS TO DISMISS
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              [PROPOSED] ORDER STIPULATION RE: CONSOLIDATION OF OPPOSITION BRIEF
     Case 1:23-cv-01228-NODJ-CDB Document 45-1 Filed 01/03/24 Page 2 of 2


 1                                         [PROPOSED] ORDER

 2           Having considered the Stipulation of the Parties and the case file in this matter, and good
 3    cause appearing, the Court orders as follows:
 4       1. Plaintiffs may file one consolidated brief of 40 pages in opposition to Defendants’

 5           motions to dismiss.
 6       IT IS SO ORDERED.
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 8    DATED this _________ day of ______________, 2024.

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10                                                             _____________________________
                                                               Hon. _________________
11                                                             United States District Judge
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                  [PROPOSED] ORDER STIPULATION RE: CONSOLIDATION OF REPLY BRIEF
